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#    9/11 Decedent            Plaintiff                Relationship           Solatium Damages
 1   Barkow, Colleen          Barkow, Crystal          Stepchild                     $8,500,000.00
 2   Barkow, Colleen          Barkow, Kayla            Stepchild                     $8,500,000.00
 3   Battaglia, Paul          Leinung, John M.         Stepparent                    $8,500,000.00
                              DeNiro Graffino, Anthony
 4   Carroll, Peter J.                                 Stepchild                     $8,500,000.00
                              D
 5   Carroll, Peter J.        DeNiro, Dana Ann         Stepchild                     $8,500,000.00
 6   Flyzik, Carol            Walsh, Joseph            Stepchild                     $8,500,000.00
 7   Flyzik, Carol            Walsh, Kevin             Stepchild                     $8,500,000.00
 8   Flyzik, Carol            Walsh, Kristin           Stepchild                     $4,250,000.00
 9   Gabriel, Richard P.      Callanan, Robert         Stepchild                     $8,500,000.00
10   Hagerty, Karen E.        Whittaker, J. Linzee     Stepparent                    $8,500,000.00
11   Henderson, Ronnie Lee    Smith, LaKimmie          Stepchild                     $8,500,000.00
12   Henderson, Ronnie Lee    Ross, Marshall           Stepchild                     $8,500,000.00
13   Kniazev, Eugeni          Rakovsky, Gregory        Stepchild                     $4,250,000.00
14   LeBlanc, Robert          Youngren, Kjell          Stepchild                     $8,500,000.00
15   LeBlanc, Robert          Youngren, Nissa          Stepchild                     $8,500,000.00
16   Palazzo, Jeffrey M.                               cousin, godchild and
                              Sloan, Liza                                            $4,250000.00
                                                                                           ,
                                                       "daughter" / "sibling"
17   Scauso, Dennis           Bailey-Scauso, Darcie    Stepchild                     $8,500,000.00
18   Smith, Kevin J.          Scochemaro, Nichole A.   Stepchild                     $4,250,000.00
19   Smith, Kevin J.          Viola, Anthony J.        Stepchild                     $4,250,000.00
20   Smith, Kevin J.          Viola, Jr., Vincent      Stepchild                     $4,250,000.00
                              Schoenholtz Murp
                                            Murphy,
21   Steinman, Alexander                               Stepsibling                   $4,250,000.00
                              Jessica
22   Steinman, Alexander      Steinman, Linda          Stepparent                    $4,250,000.00
23   Rosenbaum, Brooke D.     Rosenbaum, Fern          Stepparent                    $8,500,000.00
24   Wainio, Honor Elizabeth  Heymann, Esther E.       Stepparent                    $8,500,000.00
25   Warner, Brian            Tucker, Jason            Stepsibling                   $2,125,000.00
